Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 1 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 2 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 3 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 4 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 5 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 6 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 7 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 8 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document    Page 9 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 10 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 11 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 12 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 13 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 14 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 15 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 16 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 17 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 18 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 19 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 20 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 21 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 22 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 23 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 24 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 25 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 26 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 27 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 28 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 29 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 30 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 31 of 32
Case 2:17-bk-07424-BMW   Doc 33 Filed 08/03/17 Entered 08/03/17 16:03:48   Desc
                         Main Document   Page 32 of 32
